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B6A (Official Form 6A) (12107)




    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co­
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit Ifthe debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an "H,"
"'W," "J," or ''C'' in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

  Do Dot include iDterests in executory cODtracts and unexpired leases OD tbis sebedule. List them iD Schedule G - Executory CODtraets aDd
Unexpired Leases.

    Ifan entity claims to have a lien or hold a secured interest in any property, state the wnount ofthe secured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

    Ifthe debtor is an individual or if a joint petition is filed, state the wnount ofany exemption claimed in the property only in Schedule C - Property
Claimed as Exempt




                                                                                     ~IIS
             DESCRIPTION AND                                                                       CURRENT VALUE                     AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR'S                            OF DEBTOR'S                        SECURED
                PROPERlY                            INTEREST IN PROPERlY                            INTEREST IN                        CLAIM
                                                                                                PROPERlY, WITHOUT
                                                                                                  DEDUCTING ANY
                                                                                                  SECURED CLAIM
                                                                                                  OR EXEMPTION

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                                                                                 Total'"
                                                                                 (Report also on Summary of Schedules.)
